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                                                                          4                               UNITED STATES DISTRICT COURT
                                                                          5                                         Northern District of California
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                                                                          7    NUANCE COMMUNICATIONS, INC.,
                                                                          8                            Plaintiff,                        No. C 08-2912 JSW (MEJ)
                                                                                         v.
                                                                          9                                                              DISCOVERY ORDER RE MAY 24,
                                                                               ABBYY SOFTWARE HOUSE et al.,                              2010 JOINT LETTER [DKT. #198]
                                                                         10
                                                                                                 Defendants.
                                                                         11    _____________________________________/
                                                                         12          Before the Court is the joint discovery dispute letter (“Joint Letter”) filed the parties on May
UNITED STATES DISTRICT COURT
                               For the Northern District of California




                                                                         13   24, 2010. (Dkt. #198.) The instant dispute concerns a statement in Defendants’ portion of the April
                                                                         14   2, 2010 joint case management statement. Regarding discovery, Defendants stated that they “have
                                                                         15   further agreed to supplement their invalidity contentions no later than April 27, 2010 by either
                                                                         16   removing the prior art references for which there are no claim charts, or providing the missing claim
                                                                         17   charts required under Patent L.R. 3-3(c) and the accompanying document production required under
                                                                         18   Patent L.R. 3-4(b).” (Dkt. #187, 10:13-16.)
                                                                         19          Plaintiff contends that Defendants did not provide claim charts or supporting documents for
                                                                         20   20 references1 listed as prior art. (Joint Letter at 2.) Plaintiff states that on May 10, 2010,
                                                                         21   Defendants provided six new documents, including two partial newspaper articles, several articles
                                                                         22   which mention 9 of the 20 references, and other documents that appear to Plaintiff to add 5 prior art
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                                                                         24           The references are listed in the Joint Letter as follows: Optical Page Reader; GreenDesk for
                                                                              Windows by GreenSoft Corp; LaserFiche Desktop Personal Edition by Compulink Management
                                                                         25   Center; PageKeeper by Caere Corp; PageManager by UMAX; PaperMaster by DocuMagix; Presto
                                                                              by Envisions Solutions Technology; Watermark Enterprise Edition by Watermark Software FileNet
                                                                         26
                                                                              Corp.’s various document management products; Analyze by Mayo Clinic’s Biomedical Imaging
                                                                         27   Resource; OpenDoc by Apple Computer; C News, a USENET product; Object Management
                                                                              Group’s Common Object Requesting Broker Architecture (CORBA); Adobe System’s Capture; J2
                                                                         28   Global Communications’ eFax product; Onset Technology, Inc.’s ThruFax product; and Kofax
                                                                              PLC’s Ascent Capture Internet Server (ACI). (Joint Letter at 3.)
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                                                                          1   references never before disclosed. Id. at 3. Plaintiff contends that some of these documents contain
                                                                          2   no date or a date falling after the priority date of the patents-in-suit, and argue that these documents
                                                                          3   do not establish a basis upon which Defendants are alleging these references as prior art. Id. at 4.
                                                                          4   Plaintiff argues that Defendants have neither removed those prior art references nor have they
                                                                          5   provided the missing claim charts as they agreed to do. Based on this argument, Plaintiff seeks an
                                                                          6   order striking the 20 cited references. Id. at 5.
                                                                          7           In response, Defendants argue that they performed under the parties’ agreement by
                                                                          8   “produc[ing] evidence that supported the general assertion that the 20 references rendered the
                                                                          9   patents-in-suit invalid.” Id. Defendants state that they do want to incur the expense of obtaining the
                                                                         10   evidence that charting requires until Plaintiff complies with the Court’s directive to slim down the
                                                                         11   case, and contend that they should be required to chart only claims that will actually be asserted by
                                                                         12   Plaintiff. Id. at 5, 6.
UNITED STATES DISTRICT COURT
                               For the Northern District of California




                                                                         13           On June 14, 2010, the Special Master appointed by Judge White issued a recommendation
                                                                         14   (Dkt. #205), which was adopted “in every respect” by Judge White. (Dkt. #207.) The Special
                                                                         15   Master “recommend[ed] proceeding on all the pending patents, as limited to the 24 claims by
                                                                         16   plaintiffs in the May 24, 2010 filing.” (4:24-26, Dkt. #205.) Now that Plaintiff has limited the
                                                                         17   claims it is asserting from 140 to 24 (Dkt. #199), Defendants will not be required to incur any
                                                                         18   unnecessary expense. However, they will be required to incur the expense of charting for the claims
                                                                         19   upon which Plaintiff has chosen to proceed. Accordingly, within 30 days following issuance of this
                                                                         20   Order, the Court ORDERS Defendants to either remove the prior art references for which there are
                                                                         21   no claim charts, or provide the missing claim charts required under Patent L.R. 3-3(c) and the
                                                                         22   accompanying document production required under Patent L.R. 3-4(b) as to claims that Plaintiff is
                                                                         23   actually asserting.
                                                                         24           IT IS SO ORDERED.
                                                                         25
                                                                         26   Dated: June 23, 2010
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                                                                         27                                                                 Maria-Elena James
                                                                                                                                            Chief United States Magistrate Judge
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